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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
In re                                                          :   Chapter 11
                                                               :
ALL YEAR HOLDINGS LIMITED,                                     :   Case No. 21-12051 (MG)
                                                               :
                           Debtor.   1
                                                               :
                                                               :
Fed. Tax Id. No. XX-XXXXXXX                                    :
---------------------------------------------------------------X

                           SCHEDULES OF ASSETS AND LIABILITES
                             FOR ALL YEAR HOLDINGS LIMITED 2




1
    The Debtor’s principal offices are located at 199 Lee Avenue, Suite 693, Brooklyn, New York 11211.
2
    The Debtor reserves all rights to amend, modify, or supplement its schedules of assets and liabilities
    and statement of financial affairs in all respects, as may be necessary or appropriate, including, but not
    limited to, the right to dispute or otherwise assert offsets or defenses to any claim reflected on the
    schedules and statement as to amount, liability or classification, or to otherwise subsequently designate
    any claim as “disputed,” “contingent” or “unliquidated.” Nothing contained in the schedules and
    statement shall constitute a waiver of any rights with respect to the Debtor’s Chapter 11 Case, including,
    but not limited to, issues involving equitable subordination, characterization or re-characterization of
    contracts, assumption or rejection of executory contracts and causes of action arising under chapter 5
    of the Bankruptcy Code or any applicable non-bankruptcy laws to recover assets or avoid transfers.
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 Fill in this information to identify the case:
 Debtor Name: All Year Holdings Limited
 United States Bankruptcy Court for the: Southern District of New York
                                                        (State)                                                                                                               ☐ Check if this is an
 Case number (If known): 21-12051 (MG)                                                                                                                                          amended filing




Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                        12/15



  Part 1:        Summary of Assets

 1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


      1a. Real property:
          Copy line 88 from Schedule A/B .............................................................................................................                         $0


      1b. Total personal property:
          Copy line 91A from Schedule A/B ...........................................................................................................                          $177,780,822.10


      1c. Total of all property:
          Copy line 92 from Schedule A/B .............................................................................................................                         $177,780,822.10




  Part 2:        Summary of Liabilities

 2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D                                                                              $10,000,000.00


 3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

      3a. Total claim amounts of priority unsecured claims:
          Copy the total claims from Part 1 from line 5a of Schedule E/F .............................................................                                         $0


      3b. Total amount of claims of nonpriority amount of unsecured claims:
          Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F ..................................
                                                                                                                                                                          +    $663,063,178



 4.   Total liabilities ...............................................................................................................................................
      Lines 2 + 3a + 3b                                                                                                                                                        $673,063,178




Official Form 206Sum                                     Summary of Assets and Liabilities for Non-Individuals                                                                             page 1
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     Fill in this information to identify the case:
     Debtor name All Year Holdings Limited
     United States Bankruptcy Court for the: Southern District of New York
                                                  (State)
     Case number (If known): 21-12051 (MG)

                                                                                                                                        ☐ Check if this an
                                                                                                                                               amended filing

 Official Form 206A/B
 Schedule A/B: Assets — Real and Personal Property                                                                                                     12/15
 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
 Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
 which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
 or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
 the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
 additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.
For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


     Part 1:      Cash and cash equivalents

     1.   Does the debtor have any cash or cash equivalents?
          ☐      No. Go to Part 2.
          ☒      Yes. Fill in the information below.

           All cash or cash equivalents owned or controlled by the debtor                                                         Current value of debtor’s
                                                                                                                                  interest
                                                                                                                                  $
     2.   Cash on hand                                                                                                            $

     3.   Checking, savings, money market, or financial brokerage accounts (Identify all)                                         $
          Name of institution (bank or brokerage firm)                   Type of account        Last 4 digits of account number
          3.1. BANK LEUMI                                                CHECKING               9600                              $4,006,703
          3.2. ISRAEL DISCOUNT BANK                                      NIS ACCOUNT            4214                              $14,1061
          3.3. ISRAEL DISCOUNT BANK                                      USD ACCOUNT            4656                              $2,052
     4.   Other cash equivalents (Identify all)                                                                                   $
          4.1.                                                                                                                    $
          4.2.                                                                                                                    $
     5.   Total of Part 1
                                                                                                                                  $4,022,861
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



     Part 2:      Deposits and prepayments

     6.   Does the debtor have any deposits or prepayments?
          ☐      No. Go to Part 3.
          ☒      Yes. Fill in the information below.
                                                                                                                                  Current value of
                                                                                                                                  debtor’s interest
     7.   Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


 1
  THE VALUE OF THE DEBTOR’S INTEREST IN THE NIS ACCOUNT WAS CONVERTED FROM ILS TO USD USING THE EXCHANGE RATE FROM
 DECEMBER 14, 2021.



 Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                            page 1
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 Debtor        All Year Holdings Limited                                       Case number 21-12051 (MG)
               Name

      7.1.                                                                                                       $
 8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
      Description, including name of holder of prepayment

 8.1. D&O INSURANCE POLICY

             LLOYDS OF LONDON                                                                                    $329,452.06

 8.2. INTEREST & EXPENSE PREPAYMENT

             MISHMERET TRUST SERVICE COMPANY LTD., AS TRUSTEE FOR THE HOLDERS OF THE DEBENTURES (SERIES B)       $4,788,018.00


 8.3. EXPENSE PREPAYMENT

             MISHMERET TRUST SERVICE COMPANY LTD., AS TRUSTEE FOR THE HOLDERS OF THE DEBENTURES (SERIES C)       $399,961.00


 8.4. INTEREST & EXPENSE PREPAYMENT

             MISHMERET TRUST SERVICE COMPANY LTD., AS TRUSTEE FOR THE HOLDERS OF THE DEBENTURES (SERIES D)       $5,831,664.00


 8.5. EXPENSE PREPAYMENT

      MISHMERET TRUST SERVICE COMPANY LTD., AS TRUSTEE FOR THE HOLDERS OF THE DEBENTURES (SERIES E)              $400,053.00

 8.6. FEE ADVANCE

      KOFFSKY SCHWALB LLC                                                                                        $13,337.50

 8.7. FEE ADVANCE

      WEIL, GOTSHAL & MANGES LLP                                                                                 $375,000.00

 8.8. FEE ADVANCE

      ARCHER & GREINER PC                                                                                        $25,000.00

 8.9. FEE ADVANCE
                                                                                                                 80,000.00
      CONYERS, FILL & PEARMAN



 9.   Total of Part 2
                                                                                                                 $12,242,485.56
      Add lines 7 through 8. Copy the total to line 81.

 Part 3:      Accounts receivable

 10. Does the debtor have any accounts receivable?
      ☒      No. Go to Part 4.

      ☐      Yes. Fill in the information below.
                                                                                                                 Current value of debtor’s
                                                                                                                 interest
 11. Accounts receivable

      11a. 90 days old or less: ____________________________ – ___________________________ = ........          $
                                face amount                     doubtful or uncollectible accounts
      11b. Over 90 days old:      ____________________________ – ___________________________ = ........ 
                                  face amount                     doubtful or uncollectible accounts
 12. Total of Part 3
                                                                                                                 $
      Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:      Investments

 13. Does the debtor own any investments?
      ☐      No. Go to Part 5.
      ☒      Yes. Fill in the information below.




Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                              page 2
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                Name

                                                                                                 Valuation method         Current value of debtor’s
                                                                                                 used for current value   interest
    14. Mutual funds or publicly traded stocks not included in Part 1
        Name of fund or stock:
        14.1.                                                                                                             $
        14.2.                                                                                                             $


    15. Non-publicly traded stock and interests in incorporated and unincorporated
        businesses, including any interest in an LLC, partnership, or joint venture



                                                                     Debtor's
                                          Entity                                       Value of Debtor's Interest2
                                                                     Interest

       15.1                          101 Quincy LLC                     50%           $               1,287,313.50

       15.2                 1012 Willoughby Avenue LLC                  50%           $                 446,276.50

       15.3                         133 Leonard LLC                     50%           $               3,101,250.00

       15.4                  1044 Flushing Avenue LLC                  100%           $                 605,280.00

       15.5                          1055 Dean LLC                     100%           $               1,573,594.00

       15.6                      1058 Bergen Street LLC                 50%           $                 453,393.00

       15.7                       1088 Bedford Ave LLC                  50%           $                 532,744.50

       15.8                      Gunther Apartments Corp               100%           $                 365,081.00

       15.9                        1136 Willoughby LLC                 100%           $                 551,068.00

      15.10                          1159 Dean LLC                      50%           $                 547,723.50

      15.11                      1221 Atlantic Avenue LLC              100%           $                 868,189.80

      15.12                         125 Leonard LLC                     50%           $               3,101,250.00

      15.13                       132 Havemeyer St LLC                  50%           $               1,423,339.31

      15.14                        Bedford Living, LLC                  50%           $                 548,198.89

      15.15                        132A Stanhope LLC                    17%           $                 140,904.21

      15.16                       The Henrica Group LLC                100%           $                 913,843.39

      15.17                         1358 Dekalb LLC                     50%           $                 342,668.88

      15.18                         136 Kingsland LLC                   50%           $                 296,429.13

      15.19                         1361 Greene LLC                     50%           $                 678,250.00

      15.20                       WWW 888 Realty Inc.                  100%           $                 748,903.81

      15.21                      1418 Putnam Avenue LLC                100%           $                 548,986.71


      15.22                      1420 Putnam Avenue LLC                100%           $                 547,728.07




2
 THE VALUE OF THE DEBTOR’S INTERESTS IN ITS SUBSIDIARIES REFLECTS THE DEBTOR’S SHARE OF THE NET EQUITY VALUE OF THE
SUBSIDARIES, WHICH HAS BEEN CALCULATED BASED ON THE DEBTOR’S MOST RECENT APPRAISAL VALUES OF THE PROPERTIES
OWNED BY SUCH SUBSIDIARES AS OF JUNE 2020.


Official Form 206A/B                           Schedule A/B: Assets — Real and Personal Property                                  page 3
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             Name


    15.23                   690 Prospect Pl LLC                  50%           $             1,173,820.29


    15.24                                                        100%          $             1,294,381.38
                       143 N8 C3 Realty Investors LLC

    15.25                     145 Driggs LLC                     50%           $              543,279.29

    15.26                    Grove Palace LLC                    100%          $              522,648.25

    15.27                 Hudson View Realty LLC                 50%           $             2,178,546.00

    15.28                    161 Meserole LLC                    50%           $              403,557.37

    15.29                    161 Troutman LLC                    50%           $              232,085.34

    15.30                 163 Troutman Realty LLC                100%          $              448,423.97


    15.31              165 Central Avenue Realty LLC             50%           $              184,258.62


    15.32                 166 Harman Realty LLC                  100%          $              560,288.39

    15.33                   Harman Towers LLC                    50%           $              668,747.80

    15.34                  170 Knickerbocker LLC                 50%           $              247,652.38

    15.35                    189 Menahan LLC                     67%           $              177,695.46

    15.36              The Troutman Residence LLC                100%          $              469,381.38

    15.37                   192 BSD Realty LLC                   50%           $              337,111.53

    15.38              Ralph & Ralph Properties LLC              50%           $              923,757.59

    15.39                     198 Scholes LLC                    65%           $              415,987.70

    15.40                    199 Weirfield LLC                   50%           $               78,250.00

    15.41                   212-214 Grand LLC                    50%           $             1,386,167.39

    15.42                     215 Himrod LLC                     50%           $              277,582.78

    15.43                 Dodworth Enterprise LLC                60%           $              588,000.00

    15.44                   222 Stanhope II LLC                  50%           $              670,000.00

    15.45                    226 Troutman LLC                    50%           $              376,072.50

    15.46                    231 Jefferson LLC                   100%          $              681,983.00

    15.47                    233 Jefferson LLC                   100%          $              722,145.00

    15.48                    236 Meserole LLC                    50%           $              700,711.50

    15.49                    238 Troutman LLC                    75%           $              601,583.25

    15.50                    239 Troutman LLC                    50%           $              365,917.00

    15.51                    242 Troutman LLC                    75%           $              526,670.25

    15.52                    247 Troutman LLC                    50%           $              339,863.50

    15.53                     252 Grand LLC                      50%           $              759,617.49

    15.54                 254 Palmetto Street LLC                100%          $              260,594.14




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                           page 4
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    15.55                 259 Evergreen Realty LLC               100%          $             1,562,192.11

    15.56                   271 Metropolitan LLC                 58%           $             5,870,468.10

    15.57                      273 Driggs LLC                    50%           $              710,952.14

    15.58                    273 Skillman St LLC                 100%          $              773,962.45

    15.59                     274 Jefferson LLC                  50%           $              770,201.24

    15.60                     277 Classon LLC                    100%          $             1,587,034.70

    15.61                       28 Wilson LLC                    50%           $              375,467.97

    15.62                283 Nostrand Ave Realty LLC             50%           $              352,351.14

    15.63                       30 Driggs LLC                    50%           $              346,015.91

    15.64                     300 Troutman LLC                   90%           $              338,505.59

    15.65                      305 Grand LLC                     50%           $              250,477.60

    15.66                      307 Devoe LLC                     100%          $             1,303,451.33

    15.67                      311 Melrose LLC                   100%          $              738,592.99

    15.68                    335 St. Nicholas LLC                100%          $              832,302.99

    15.69                      360 Decatur LLC                   67%           $              793,272.95

    15.70                   3609 15th Avenue LLC                 100%          $              578,110.28

    15.71                   3611 15th Avenue LLC                 50%           $              218,764.26

    15.72                       378 Lewis LLC                    100%          $             1,890,495.13

    15.73                    78 Havemeyer LLC                    50%           $             1,416,826.55

    15.74                     392 St Marks LLC                   50%           $             1,960,881.11

    15.75                     401 Suydam LLC                     50%           $              205,151.23

    15.76                    Lavan Equities LLC                  50%           $              413,777.50

    15.77                    461 Park Place LLC                  75%           $              932,585.93

    15.78                       469 Park LLC                     75%           $              941,717.72

    15.79                      473 Park Pl LLC                   50%           $              627,270.99

    15.80                       48 Wilson LLC                    50%           $              342,579.68

    15.81                 West Tremont Housing LLC               100%          $              664,463.39

    15.82                      506 Dekalb LLC                    100%          $             1,495,902.15

    15.83               Knickerbocker St Holdings LLC            100%          $             4,046,562.51


    15.84                   533 Knickerbocker LLC                100%          $              167,312.50

    15.85                       54 Lewis LLC                     100%          $              479,639.62

    15.86                     574 Broadway LLC                   50%           $              706,843.34

    15.87                    57-59 Grand St LLC                  50%           $             1,065,648.90

    15.88                      591 Franklin LLC                  100%          $             1,055,671.00

    15.89              A & M Park Place Enterprises LLC          50%           $             1,067,273.12

    15.90                    648 Myrtle Ave LLC                  100%          $             2,033,000.00



Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                           page 5
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              Name


    15.91                     65 Kent Mezz LLC                     100%          $              2,355,000.00

    15.92                     654 Park Place LLC                   50%           $                631,595.72

    15.93                 679 681 Classon Ave LLC                  50%           $                459,590.65


    15.94                  69 Stockholm Realty LLC                 50%           $                408,343.55


    15.95                  694 Franklin Avenue LLC                 50%           $                604,562.67

    15.96                    697 Prospect Pl LLC                   100%          $                829,125.35

    15.97                       71 Wilson LLC                      50%           $                400,949.96

    15.98                   716 Jefferson Ave LLC                  50%           $                847,368.29

    15.99                   778 Lincoln Place LLC                  50%           $                559,122.79

   15.100                  79 South 6th Street LLC                 50%           $                874,956.28

   15.101                      82 Jefferson LLC                    50%           $              1,292,763.12

   15.102                       871 Grand LLC                      50%           $                537,142.78

   15.103                        89 North LLC                      100%          $                710,226.00

   15.104                  Y & M Management LLC                    75%           $              1,349,111.98

   15.105                       90 Wilson LLC                      100%          $                556,468.13

   15.106                    916 Madison St LLC                    50%           $                306,377.45

   15.107                   430 Albee Square LLC                   100%          $             (8,000,000.00)

   15.108                  Chester Holdings NY LLC                 87%           $             (2,073,296.88)


   15.109                       TLG North LLC                      33%           $              7,116,500.00

   15.110                   All Year Holdings LLC                  100%          $             55,629,954.98
   15.111                         YG WV LLC                        100%          $             (3,997,000.00)

   15.112                     Lofts on Devoe LLC                   50%           $                         0



 16. Government bonds, corporate bonds, and other negotiable and non-negotiable
     instruments not included in Part 1
      Describe:

      16.1.                                                                                                         $
      16.2.                                                                                                         $



 17. Total of Part 4
                                                                                                                    $139,053,785.55
      Add lines 14 through 16. Copy the total to line 83.


 Part 5:      Inventory, excluding agriculture assets

 18. Does the debtor own any inventory (excluding agriculture assets)?
     ☒ No. Go to Part 6.
     ☐ Yes. Fill in the information below.




Official Form 206A/B                       Schedule A/B: Assets — Real and Personal Property                                page 6
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             Name


       General description                       Date of the last     Net book value of      Valuation method used   Current value of debtor’s
                                                 physical inventory   debtor's interest      for current value       interest
                                                                      (Where available)
 19. Raw materials
                                                                      $                                              $
                                                 MM / DD / YYYY

 20. Work in progress
                                                                      $                                              $
                                                 MM / DD / YYYY

 21. Finished goods, including goods held for resale
                                                                      $                                              $
                                                 MM / DD / YYYY

 22. Other inventory or supplies
                                                                      $                                              $
                                                 MM / DD / YYYY
 23. Total of Part 5
                                                                                                                     $
      Add lines 19 through 22. Copy the total to line 84.


 24. Is any of the property listed in Part 5 perishable?
     ☐ No.
     ☐ Yes.

 25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     ☐ No.
     ☐ Yes. Book value _______________ Valuation method ____________________ Current value ______________

 26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     ☐ No.
     ☐ Yes.

 Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

 27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      ☒    No. Go to Part 7.
      ☐    Yes. Fill in the information below.

       General description                                            Net book value of      Valuation method used   Current value of debtor’s
                                                                      debtor's interest      for current value       interest
                                                                      (Where available)
 28. Crops—either planted or harvested
                                                                      $                                              $
 29. Farm animals Examples: Livestock, poultry, farm-raised fish
                                                                      $                                              $
 30. Farm machinery and equipment (Other than titled motor vehicles)
                                                                      $                                              $
 31. Farm and fishing supplies, chemicals, and feed
                                                                      $                                              $
 32. Other farming and fishing-related property not already listed in Part 6
                                                                      $                                              $
 33. Total of Part 6
                                                                                                                     $
      Add lines 28 through 32. Copy the total to line 85.




Official Form 206A/B                        Schedule A/B: Assets — Real and Personal Property                                page 7
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 Debtor          All Year Holdings Limited                                      Case number 21-12051 (MG)
                 Name


 34. Is the debtor a member of an agricultural cooperative?
     ☐ No.
     ☐ Yes. Is any of the debtor’s property stored at the cooperative?

             ☐      No.
             ☐      Yes.

 35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     ☐ No.
     ☐ Yes. Book value $_______________ Valuation method ____________________ Current value $________________

 36. Is a depreciation schedule available for any of the property listed in Part 6?
     ☐ No.
     ☐ Yes.

 37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     ☐ No.
     ☐ Yes.


 Part 7:      Office furniture, fixtures, and equipment; and collectibles

 38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
      ☒      No. Go to Part 8.
      ☐      Yes. Fill in the information below.

       General description                                                Net book value of     Valuation method used   Current value of debtor’s
                                                                          debtor's interest     for current value       interest
                                                                          (Where available)
 39. Office furniture
                                                                          $                                             $
 40. Office fixtures
                                                                          $                                             $
 41. Office equipment, including all computer equipment and
     communication systems equipment and software
                                                                          $                                             $
 42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
     artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
     or baseball card collections; other collections, memorabilia, or collectibles
      42.1                                                                $                                             $
      42.2                                                                $                                             $
      42.3                                                                $                                             $

 43. Total of Part 7
                                                                                                                        $
      Add lines 39 through 42. Copy the total to line 86.
 44. Is a depreciation schedule available for any of the property listed in Part 7?
      ☐      No.
      ☐      Yes.

 45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     ☐ No.
     ☐ Yes.




Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                 page 8
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               Name


 Part 8:      Machinery, equipment, and vehicles

 46. Does the debtor own or lease any machinery, equipment, or vehicles?
      ☒      No. Go to Part 9.
      ☐      Yes. Fill in the information below.

       General description                                              Net book value of     Valuation method used   Current value of debtor’s
       Include year, make, model, and identification numbers (i.e.,     debtor's interest     for current value       interest
       VIN, HIN, or N-number)                                           (Where available)
 47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

      47.1                                                              $                                             $
      47.2                                                              $                                             $
      47.3                                                              $                                             $
      47.4                                                              $                                             $


 48. Watercraft, trailers, motors, and related accessories Examples: Boats,
     trailers, motors, floating homes, personal watercraft, and fishing vessels

      48.1                                                              $                                             $
      48.2                                                              $                                             $
 49. Aircraft and accessories

      49.1                                                              $                                             $
      49.2                                                              $                                             $
 50. Other machinery, fixtures, and equipment (excluding farm
     machinery and equipment)

                                                                        $                                             $

 51. Total of Part 8
                                                                                                                      $
      Add lines 47 through 50. Copy the total to line 87.


 52. Is a depreciation schedule available for any of the property listed in Part 8?
      ☐      No.
      ☐      Yes.

 53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
      ☐      No.
      ☐      Yes.




Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                               page 9
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 Debtor        All Year Holdings Limited                                             Case number 21-12051 (MG)
               Name


 Part 9:      Real property

 54. Does the debtor own or lease any real property?
      ☐      No. Go to Part 10.
      ☒      Yes. Fill in the information below.

 55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property           Nature and extent          Net book value of    Valuation method       Current value of debtor’s
       Include street address or other description    of debtor’s interest       debtor's interest    used for current       interest
       such as Assessor Parcel Number (APN), and      in property                                     value
       type of property (for example, acreage,                                   (Where available)
       factory, warehouse, apartment or office
       building), if available.

      55.1 735 BEDFORD AVENUE A/K/A 12                TENANT                     $                                           $
      SPENCER STREET, BROOKLYN, NY 11205

      55.2                                                                       $                                           $
      55.3                                                                       $                                           $
      55.4                                                                       $                                           $
      55.5                                                                       $                                           $
      55.6                                                                       $                                           $

 56. Total of Part 9
                                                                                                                             $
      Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
 57. Is a depreciation schedule available for any of the property listed in Part 9?
      ☒      No.
      ☐      Yes.

 58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
      ☒      No.
      ☐      Yes.

 Part 10:     Intangibles and intellectual property

 59. Does the debtor have any interests in intangibles or intellectual property?
      ☒      No. Go to Part 11.
      ☐      Yes. Fill in the information below.

       General description                                                   Net book value of       Valuation method used   Current value of debtor’s
                                                                             debtor's interest       for current value       interest
                                                                             (Where available)
 60. Patents, copyrights, trademarks, and trade secrets
                                                                             $                                               $
 61. Internet domain names and websites
                                                                             $                                               $
 62. Licenses, franchises, and royalties
                                                                             $                                               $
 63. Customer lists, mailing lists, or other compilations
                                                                             $                                               $
 64. Other intangibles, or intellectual property
                                                                             $                                               $
 65. Goodwill
                                                                             $                                               $

 66. Total of Part 10
                                                                                                                             $
      Add lines 60 through 65. Copy the total to line 89.



Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                     page 10
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    Debtor       All Year Holdings Limited                                      Case number 21-12051 (MG)
                 Name



    67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
         ☐     No.
         ☐     Yes.

    68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ☐     No.
         ☐     Yes.

    69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ☐     No.
         ☐     Yes.

    Part 11:    All other assets

    70. Does the debtor own any other assets that have not yet been reported on this form?
         ☐     No. Go to Part 12.
         ☒     Yes. Fill in the information below.


    71. Notes receivable3

                      Description (Name of Obligor)           Approximate Value of Debtor's Interest

       71.1             Mercer Jordan Ventures LLC          $3,608,918.36

       71.2                 JS Skillman NY LLC              $5,353,790.33

       71.3              1044 Flushing Avenue LLC           $35,974.22

       71.4                    1055 Dean LLC                $35,600.30

       71.5                 1136 Willoughby LLC             $80,242.30

       71.6              1221 Atlantic Avenue LLC           $38,346.11

       71.7               The Henrica Group LLC             $46,718.51

       71.8                   273 Skillman LLC              $298,621.56

       71.9                   277 Classon LLC               $29,278.49

       71.10                   307 Devoe LLC                $25,580.75

       71.11                   378 Lewis LLC                $56,755.09

       71.12                  506 Dekalb LLC                $101,524.63

       71.13                    54 Lewis LLC                $28,700.53

       71.14                  141 Spencer LLC               $507,151.61

       71.15             1418 Putnam Avenue LLC             $26,255.82

       71.16             1420 Putnam Avenue LLC             $23,271.19

       71.17          143 N8 C3 Realty Investors LLC        $154,036.56

       71.18                 Grove Palace LLC               $46,106.13

       71.19             163 Troutman Realty LLC            $3,721.47


3
 THE DEBTOR HAS MADE INTERCOMPANY LOANS TO CERTAIN OF ITS SUBSIDIARIES. LOANS TO SUBSIDIARIES IN WHICH THE DEBTOR IS
THE SOLE MEMBER HAVE A TOTAL OUTSTANDING BALANCE OF APPROXIMATELY $3,203,890 AND LOANS TO SUBSIDIARIES IN WHICH THE
DEBTOR IS NOT THE SOLE MEMBER HAVE A TOTAL OUSTANDING BALANCE OF APPROXIMATELY $3,378,728.




Official Form 206A/B                            Schedule A/B: Assets — Real and Personal Property                                page 11
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             Name


    71.20               166 Harman Realty LLC            $9,982.15

    71.21                  169 Graham LLC                $571,321.89

    71.22           The Troutman Residence LLC           $54,387.38

    71.23                 231 Jefferson LLC              $13,375.22

    71.24                 233 Jefferson LLC              $16,335.05

    71.25               234-236 North 11th LLC           $55,435.39

    71.26              254 Palmetto Street LLC           $35,010.27

    71.27              259 Evergreen Realty LLC          $58,539.71

    71.28                  311 Melrose LLC               $19,777.64

    71.29               3535 St. Nicholas LLC            $50,486.17

    71.30               3609 15th Avenue LLC             $74,569.39

    71.31                 West Tremont LLC               $211,089.00

    71.32                  591 Franklin LLC              $169,930.06

    71.33                 648 Myrtle Ave LLC             $202,873.13

    71.34                65 Kent Avenue LLC              $34,322.33

    71.35                697 Prospect Pl LLC             $47,334.05

    71.36                   90 Wilson LLC                $50,092.83

    71.37                1000 Broadway LLC               $432,957.68

    71.38                  101 Quincy LLC                $49,241.76

    71.39               1058 Bergen Street LLC           $12,763.87

    71.40               1088 Bedford Ave LLC             $80,397.41

    71.41                  1159 Dean LLC                 $41,825.88

    71.42      125 Leonard LLC & 133 Leonard LLC         $37,555.09

    71.43               132 Havemeyer St LLC             $20,269.56

    71.44                 Bedford Living, LLC            $17,904.93

    71.45                 136 Kingsland LLC              $61,602.08

    71.46                 1361 Greene LLC                $48,444.17

    71.47                690 Prospect Pl LLC             $78,287.89

    71.48                   145 Driggs LLC               $45,841.64

    71.49                 161 Meserole LLC               $11,057.06

    71.50                 161 Troutman LLC               $8,442.94

    71.51         165 Central Avenue Realty LLC          $25,001.76

    71.52               170 Knickebocker LLC             $1,070.67

    71.53              188 South 3rd Street LLC          $315,083.95

    71.54                 189 Menahan LLC                $17,344.00

    71.55                192 BSD Realty LLC              $16,244.82

    71.56                  198 Scholes LLC               $44,830.11

    71.57                 212-214 Grand LLC              $112,543.98




Official Form 206A/B                         Schedule A/B: Assets — Real and Personal Property                  page 12
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 Debtor        All Year Holdings Limited                                          Case number 21-12051 (MG)
               Name


    71.58                     215 Himrod LLC                  $53,076.72

    71.59                  222 Stanhope II LLC                $39,508.08

    71.60                   226 Troutman LLC                  $47,040.13

    71.61                   236 Meserole LLC                  $20,267.87

    71.62                   239 Troutman LLC                  $30,294.69

    71.63                     252 Grand LLC                   $50,431.40

    71.64                     273 Driggs LLC                  $18,676.11

    71.65                   274 Jefferson LLC                 $40,631.05

    71.66                      28 Wilson LLC                  $24,038.17

    71.67             283 Nostrand Ave Realty LLC             $39,870.27

    71.68                      30 Driggs LLC                  $42,484.66

    71.69                   300 Troutman LLC                  $26,972.23

    71.70                     305 Grand LLC                   $43,881.60

    71.71                    360 Decatur LLC                  $140,780.73

    71.72                   78 Havemeyer LLC                  $69,211.46

    71.73                    392 St Marks LLC                 $572.89

    71.74                    401 Suydam LLC                   $19,218.47

    71.75                   Lavan Equities LLC                $24,946.32

    71.76                   461 Park Place LLC                $37,077.95

    71.77                      48 Wilson LLC                  $30,717.21

    71.78             527 & 531 Knickerbocker LLC             $318,836.47

    71.79                   574 Broadway LLC                  $14,801.77

    71.80                  57-59 Grand St LLC                 $97,647.49

    71.81           A&M Park Place Enterprises LLC            $137,068.64

    71.82            679 - 681 Classon Avenue LLC             $50,399.01

    71.83               69 Stockholm Street LLC               $72,198.14

    71.84               694 Franklin Avenue LLC               $9,942.18

    71.85                 716 Jefferson Ave LLC               $54,029.53

    71.86                 778 Lincoln Place LLC               $285,378.11

    71.87                79 South 6th Street LLC              $6,540.27

    71.88                     871 Grand LLC                   $31,170.12

    71.89                  916 Madison St LLC                 $32,716.38

    71.90               Evergreen Gardens I LLC               $2,197,097.00


                                                              $17,761,689.99 – ___________________________ = $17,761,689.99 

                                                              Total face amount    doubtful or uncollectible accounts


 72. Tax refunds and unused net operating losses (NOLs)
      Description (for example, federal, state, local)
                                                                                                            Tax year            $
                                                                                                            Tax year            $


Official Form 206A/B                             Schedule A/B: Assets — Real and Personal Property                                  page 13
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 Debtor         All Year Holdings Limited                                    Case number 21-12051 (MG)
                Name

                                                                                                  Tax year                $

 73. Interests in insurance policies or annuities
                                                                                                                          Current Value of Debtor’s
            Insurance Company                    Insurance Policy No.                                                     Interest
 73.1.      LLOYDS OF LONDON                     B0595FD1657802021                                                        UNDETERMINED


 74. Causes of action against third parties (whether or not a lawsuit
     has been filed)
 74.1. ALL YEAR HOLDINGS LIMITED, INDIVIDUALLY AND ON BEHALF OF LOFTS ON DEVOE LLC V. ABRAHAM
         GREENHUT A/K/A ABRAHAM GRUNHUT AND DEVOE RESIDENCE LLC
                                                                                                                          UNDETERMINED
         Nature of claim           QUIET TITLE ACTION
         Amount requested          UNDETERMINED
 75. Other contingent and unliquidated claims or causes of action of
     every nature, including counterclaims of the debtor and rights to
     set off claims
 75.1. YOEL GOLDMAN, ET AL. V GRAND LIVING II, LLC, ET AL, INDEX NUMBER 518781/2020 & 503207/2021 &
         CASE NUMBER 19-23957 (RDD)
                                                                                                                          $4,700,000.00
         Nature of claim           SETTLEMENT AGREEMENT DATED 08/30/2021
         Amount requested          $4,700,000.00
 76. Trusts, equitable or future interests in property
                                                                                                                          $

 77. Other property of any kind not already listed Examples: Season tickets,
     country club membership
                                                                                                                          $
                                                                                                                          $
 78. Total of Part 11.
                                                                                                                          $22,461,689.99
         Add lines 71 through 77. Copy the total to line 90.
 79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     ☒ No.
     ☐ Yes.

 Part 12:


 In Part 12 copy all of the totals from the earlier parts of the form.


          Type of property                                                   Current value of                Current value
                                                                             personal property               of real property

 80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.        $4,022,861.00

 81. Deposits and prepayments. Copy line 9, Part 2.                            $12,242,485.56

 82. Accounts receivable. Copy line 12, Part 3.                                $0

 83. Investments. Copy line 17, Part 4.                                        $139,053,785.55

 84. Inventory. Copy line 23, Part 5.                                          $0

 85. Farming and fishing-related assets. Copy line 33, Part 6.                 $0

 86. Office furniture, fixtures, and equipment; and collectibles.
                                                                               $0
     Copy line 43, Part 7.




Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                  page 14
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 Debtor          All Year Holdings Limited                                                           Case number 21-12051 (MG)
                 Name


 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $0

 88. Real property. Copy line 56, Part 9 ......................................................................................            $0

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $0

                                                                                                        $22,461,689.99
 90. All other assets. Copy line 78, Part 11.

 91. Total. Add lines 80 through 90 for each column. ...................... 91a.                        $177,780,822.10             + 91b   $0



 92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. .............................................................................................   $177,780,822.10




Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                            page 15
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    Fill in this information to identify the case:
    Debtor name: All Year Holdings Limited

    United States Bankruptcy Court for the: Southern District of New York
                                                                             (State)                                                         ☐ Check if this is an
    Case number (If known): 21-12051 (MG)                                                                                                        amended filing


Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible.
1.     Do any creditors have claims secured by debtor’s property?
       ☐ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one Column A                                          Column B
     secured claim, list the creditor separately for each claim.                                     Amount of claim                                   Value of collateral
                                                                                                                             Do not deduct the value   that supports this
                                                                                                                             of collateral.            claim
2.1      Creditor’s name                                   Describe debtor’s property that is subject to a lien
         PILGRIM CHESTER LENDER, LLC                       DEBTOR’S 86.5% INTEREST IN CHESTER HOLDINGS                       $10,000,000.00            $12,170,000.001
                                                           NY LLC
         Creditor’s mailing address
         360 HAMILTON AVENUE, STE 1110
         WHITE PLAINS, NY 10601                            Describe the lien
                                                           PLEDGE OF EQUITY IN DEBTOR’S SUBSIDIARY
         Creditor’s email address, if known                Is the creditor an insider or related party?
         gkatz@downtownlp.com                              ☐      No
                                                                 Yes
         Date debt was incurred 02/26/2018                 Is anyone else liable on this claim?
         Last 4 digits of account                          ☐      No
         number                   ____
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Do multiple creditors have an                     As of the petition filing date, the claim is:
         interest in the same property?                    Check all that apply.
             No                                                Contingent
         ☐     Yes. Specify each creditor, including            Unliquidated
               this creditor, and its relative priority.        Disputed
               _____________________________
               _____________________________
3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional $10,000,000.00
       Page, if any.




1
 NO APPRAISAL OF THE PROPERTY HAS BEEN CONDUCTED; THE VALUE LISTED ABOVE REFLECTS THE PURCHASE PRICE OF THE
UNDERLYING PROPERTY.

Official Form 206D                             Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 2
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            Name                                             Pg 19 of 29

  Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are
 collection agencies, assignees of claims listed above, and attorneys for secured creditors.
 If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                            On which line in Part 1      Last 4 digits of account
                                                                                            did you enter the            number for this entity
 Name and address                                                                           related creditor?
 COOPERMAN LESTER MILLER CARUS LLP
 1129 NORTHERN BOULEVARD, SUITE 402                                                                  Line 2.1                  ___ ___ ___ ___
 MANHASSET, NEW YORK 11030




Official Form 206D                      Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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 Fill in this information to identify the case:
 Debtor: All Year Holdings Limited
 United States Bankruptcy Court for the: Southern District of New York
                                                  (State)                                                                ☐ Check if this is an
Case number (if known): 21-12051 (MG)                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list
executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts
and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1
or Part 2, fill out and attach the Additional Page of that Part included in this form.

    Part 1:      List All Creditors with PRIORITY Unsecured Claims
  1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
            No. Go to Part 2.
         ☐    Yes. Go to line 2.
  2.   List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has
       more than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.
                                                                                                                Total claim    Priority amount
   2.1 Priority creditor’s name and mailing address              As of the petition filing date, the claim is:
                                                              Check all that apply.
                                                              ☐ Contingent
          Date or dates debt was incurred                     ☐ Unliquidated
          Last 4 digits of account                            ☐ Disputed
          number ___ ___ ___ ___                              Basis for the claim:
          Specify Code subsection of PRIORITY                 Is the claim subject to offset?
          unsecured claim: 11 U.S.C. § 507(a) (__)            ☐ No
                                                              ☐ Yes
   2.2    Priority creditor’s name and mailing address        As of the petition filing date, the claim is:
                                                              Check all that apply.
          Date or dates debt was incurred                     ☐ Contingent
          Last 4 digits of account                            ☐ Unliquidated
          number ___ ___ ___ ___                              ☐ Disputed
          Specify Code subsection of PRIORITY                 Basis for the claim:
          unsecured claim: 11 U.S.C. § 507(a) (__)
                                                              Is the claim subject to offset?
                                                              ☐ No
                                                              ☐ Yes
   2.3    Priority creditor’s name and mailing address        As of the petition filing date, the claim is:
                                                              Check all that apply.
          Date or dates debt was incurred                     ☐ Contingent
          Last 4 digits of account                            ☐ Unliquidated
          number ___ ___ ___ ___                              ☐ Disputed
          Specify Code subsection of PRIORITY                 Basis for the claim:
          unsecured claim: 11 U.S.C. § 507(a) (___)           Is the claim subject to offset?
                                                              ☐ No
                                                              ☐ Yes




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                       page 1 of 5
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           Name                                          Pg 21Case number (if known) 21-12051 (MG)
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    Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
    3.  List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with
        nonpriority unsecured claims, fill out and attach the Additional Page of Part 2.1
                                                                                                                             Amount of claim
    3.1  Nonpriority   creditor’s name  and   mailing  address       As  of the  petition  filing date, the claim is: UNKNOWN
         BLANK ROME LLP                                              Check all that apply.
         1271 AVENUE OF THE AMERICAS                                 ☐ Contingent
                                                                      Unliquidated
         NEW YORK, NEW YORK 10020
                                                                      Disputed
                                                                     Basis for the claim: LEGAL FEES
         Date or dates debt was incurred VARIOUS                     Is the claim subject to offset?
         Last 4 digits of account number ___ ___ ___ ___              No
                                                                     ☐ Yes
    3.2 Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:    $3,600,000.00
         DCP KINGS POINTS LLC                                        Check all that apply.
                                                                      Contingent
         360 HAMILTON AVENUE, SUITE 1110
                                                                      Unliquidated
         WHITE PLAINS, NEW YORK 10601                                 Disputed
           Date or dates debt was incurred 04/23/2018              Basis for the claim: MEZZANINE LOAN
           Last 4 digits of account number ___ ___ ___ ___         GUARANTY
                                                                   Is the claim subject to offset?
                                                                    No
                                                                   ☐ Yes
    3.3    Nonpriority creditor’s name and mailing address         As of the petition filing date, the claim is:   $56,900,000.00
           DOWNTOWN CAPITAL PARTNERS, LLC                          Check all that apply.
                                                                    Contingent
           360 HAMILTON AVENUE, SUITE 1110
                                                                    Unliquidated
           WHITE PLAINS, NEW YORK 10601                             Disputed
           Date or dates debt was incurred 12/05/2018              Basis for the claim: PREFERRED
           Last 4 digits of account number ___ ___ ___ ___         EQUITY GUARANTY
                                                                   Is the claim subject to offset?
                                                                    No
                                                                   ☐ Yes
    3.4    Nonpriority creditor’s name and mailing address         As of the petition filing date, the claim is:   ILS 440,161,597
                                                                                                                   ($141,941,824)
           MISHMERET TRUST COMPANY LTD.                            Check all that apply.
           OF 48 DERECH MENCHAEM BEGIN                             ☐ Contingent
                                                                   ☐ Unliquidated
           TEL AVIV-YAFO, ISRAEL 6618003
                                                                   ☐ Disputed
           Date or dates debt was incurred 12/25/2016              Basis for the claim: SERIES B
           Last 4 digits of account number ___ ___ ___ ___         DEBENTURES
                                                                   Is the claim subject to offset?
                                                                   ☐ No
                                                                    Yes
    3.5    Nonpriority creditor’s name and mailing address         As of the petition filing date, the claim is:   ILS 641,606,871
                                                                                                                   ($206,903,215)2
           MISHMERET TRUST COMPANY LTD.                            Check all that apply.
           OF 48 DERECH MENCHAEM BEGIN                             ☐ Contingent
           TEL AVIV-YAFO, ISRAEL 6618003                           ☐ Unliquidated
           Date or dates debt was incurred 02/19/2017              ☐ Disputed
           Last 4 digits of account number ___ ___ ___ ___         Basis for the claim: SERIES C
                                                                   DEBENTURES
                                                                   Is the claim subject to offset?
                                                                   ☐ No
                                                                    Yes

1
 UNSECURED CLAIM AMOUNTS FOR MISHMERET TRUST COMPANY LTD. ARE AS OF DECEMBER 13, 2021 AND WERE CONVERTED FROM ILS TO USD ON
THE SAME DATE.
2
 THE SERIES C DEBENTURES WERE SECURED BY A MORTGAGE DELIVERED BY A SUBSIDIARY OF THE DEBTOR, WHICH JOINTLY OWNS A PROPERTY
LOCATED IN BROOKLYN, NEW YORK, KNOWN AS THE WILLIAM VALE. THE MORTGAGE SECURED BY THE WILLIAM VALE WAS MADE IN FAVOR OF
THE DEBTOR AND FURTHER SECURED BY A COLLATERAL ASSIGNMENT OF SUCH MORTGAGE IN FAVOR OF THE SERIES C DEBENTURES WHICH WAS
SUBSEQUENTLY ASSIGNED IN MARCH, 2021 TO MISHMERET TRUST COMPANY LTD., AS TRUSTEE FOR THE SERIES C DEBENTURES.




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 2 of 5
                                                                     2
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    3.6   Nonpriority creditor’s name and mailing address    As of the petition filing date, the claim is:   ILS 562,912,019
                                                                                                             ($181,525,965)
          MISHMERET TRUST COMPANY LTD.                       Check all that apply.
          OF 48 DERECH MENCHAEM BEGIN                        ☐ Contingent
          TEL AVIV-YAFO, ISRAEL 6618003                      ☐ Unliquidated
          Date or dates debt was incurred 06/27/2017         ☐ Disputed
          Last 4 digits of account number ___ ___ ___ ___    Basis for the claim: SERIES D
                                                             DEBENTURES
                                                             Is the claim subject to offset?
                                                             ☐ No
                                                              Yes
    3.7   Nonpriority creditor’s name and mailing address    As of the petition filing date, the claim is:   ILS 106,433,061
                                                                                                             ($34,322,174)3
          MISHMERET TRUST COMPANY LTD.                       Check all that apply.
          OF 48 DERECH MENCHAEM BEGIN                        ☐ Contingent
          TEL AVIV-YAFO, ISRAEL 6618003                      ☐ Unliquidated
          Date or dates debt was incurred 02/04/2018         ☐ Disputed
          Last 4 digits of account number ___ ___ ___ ___    Basis for the claim: SERIES E
                                                             DEBENTURES
                                                             Is the claim subject to offset?
                                                             ☐ No
                                                              Yes
    3.8   Nonpriority creditor’s name and mailing address    As of the petition filing date, the claim is:   UNKNOWN
          MREF REIT LENDER 9 LLC                             Check all that apply.
                                                              Contingent
          60 COLUMBUS CIRCLE, 20TH FLOOR
                                                              Unliquidated
          NEW YORK, NY 10023                                  Disputed
          Date or dates debt was incurred 02/12/2019         Basis for the claim: CLAIMS RELATED
          Last 4 digits of account number ___ ___ ___ ___    TO MEZZANINE LOAN
                                                             Is the claim subject to offset?
                                                             ☐ No
                                                              Yes
    3.9   Nonpriority creditor’s name and mailing address    As of the petition filing date, the claim is:   $37,870,0004
          TAZ PARTNERS LLC                                   Check all that apply.
                                                              Contingent
          22 PLEASANT VALLEY RIDGE ROAD
                                                              Unliquidated
          SPRING VALLEY, NEW YORK 10977                       Disputed
          Date or dates debt was incurred 12/10/2020         Basis for the claim: CONFESSION OF
          Last 4 digits of account number ___ ___ ___ ___    JUDGMENT
                                                             Is the claim subject to offset?
                                                             ☐ No
                                                              Yes




3
 PURSUANT TO THE JOINT CHAPTER 11 PLAN OF EVERGREEN GARDENS MEZZ LLC, EVERGREEN GARDENS I LLC, AND EVERGREEN GARDENS II LLC,
WHICH BECAME EFFECTIVE AND WAS SUBSTANTIALLY CONSUMMATED ON DECEMBER 2, 2021, THE HOLDERS OF THE ALLOWED SERIES E BOND
CLAIMS RECEIVED A DISTRIBUTION FROM EVERGREEN GARDENS II LLC ON ACCOUNT OF SUCH ALLOWED CLAIMS. THE CLAIM AMOUNT PROVIDED
HEREIN REFLECTS THE SERIES E BONDHOLDERS’ DEFICIENCY CLAIM AGAINST THE DEBTOR, AS A CO-OBLIGOR UNDER THE SERIES E BONDS. THE
SERIES E BONDHOLDERS, HOWEVER, HAVE INDICATED THAT THEY MAY ASSERT A CLAIM AGAINST THE DEBTOR FOR ALL PRINCIPAL AND UNPAID
INTEREST ON THE SERIES E BONDS.
4
 PRIOR TO THE DATE HEREOF, A CONFESSION OF JUDGMENT IN FAVOR OF TAZ PARTNERS LLC WAS UNILATERALLY ENTERED INTO BY THE YOEL
GOLDMAN ON BEHALF OF THE DEBTOR. ON DECEMBER 9, 2021, A JUDGMENT IN THE AMOUNT OF $37,870,000 IN CONNECTION WITH THAT CERTAIN
CONFESSION OF JUDGMENT WAS ENTERED BY THE CLERK FOR THE KINGS COUNTY SUPREME COURT.




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                    page 3 of 5
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Debtor     All Year Holdings Limited
           Name                                           Pg 23Case number (if known) 21-12051 (MG)
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   Part 3:      List Others to Be Notified About Unsecured Claims
  4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are
         collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.
         If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed,
         copy the next page.
                                                                      On which line in Part 1 or Part 2 is the related     Last 4 digits of account
          Name and mailing address                                    creditor (if any) listed?                            number, if any
          AKIN GUMP
  4.1     ATTN: FRANK REDDICK, ESQ.                                   LINES 3.2 & 3.3                                            ___ ___ ___ ___
          1999 AVENUE OF THE STARS, SUITE 600                         ☐ Not listed. Explain
          LOS ANGELES, CA 90067
          BLANK ROME LLP
  4.2     ATTN: STEPHEN E. TISMAN, ESQ.                             LINE 3.1                                                   ___ ___ ___ ___
          1271 AVENUE OF THE AMERICAS                               ☐ Not listed. Explain
          NEW YORK, NEW YORK 10020

          CHAPMAN & CUTLER LLP
  4.3     ATTN: MICHAEL FRIEDMAN, ESQ.                              LINES 3.4 THROUGH 3.7                                      ___ ___ ___ ___
          1270 SIXTH AVENUE                                         ☐ Not listed. Explain
          NEW YORK, NY 10020
          GOODWIN PROCTER LLP
  4.4     ATTN: KIZZY L. JARASHOW, ESQ.                             LINE 3.8                                                   ___ ___ ___ ___
          620 EIGHTH AVENUE                                         ☐ Not listed. Explain
          NEW YORK, NY 10018
          LIPSIUS-BENHAIM LAW
  4.5     ATTN: IRA LIPSIUS, ESQ.                                   LINE 3.9                                                   ___ ___ ___ ___
          80-02 KEW GARDENS BLVD., SUITE 1030                       ☐ Not listed. Explain
          KEW GARDENS, NY 11415




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4 of 5
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   Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

  5.     Add the amounts of priority and nonpriority unsecured claims.

                                                                                                       Total of claim amounts

  5a. Total claims from Part 1                                                               5a.       $0

  5b     Total claims from Part 2                                                            5b.   +   $663,063,178




  5c     Total of Parts 1 and 2                                                              5c.
                                                                                                       $663,063,178




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                        page 5 of 5
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 Fill in this information to identify the case:
 Debtor name: All Year Holdings Limited
 United States Bankruptcy Court for the: Southern District of New York
                                              (State)
 Case number (If known): 21-12051 (MG)                Chapter 11

                                                                                                                                       ☐ Check if this an
                                                                                                                                             amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1.    Does the debtor have any executory contracts or unexpired leases?
       ☐ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ☒ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).

 2.    List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired lease


    State what the contract or lease       OFFICE LEASE - 735 BEDFORD                735 BEDFORD LLC (LANDLORD)
    is for and the nature of the           AVE.
2.1 debtor’s interest
                                           AKA 12 SPENCER ST, 3RD FLOOR,             ATTN: MARK NUSSBAUM
                                           BROOKLYN, NY 11205 - TENANT
      State the term remaining             TERMINATION DATE ON 05/01/2022            225 BROADWAY, 39TH FLOOR, NEW YORK, NY 10007
      List the contract number of any
      government contract


    State what the contract or lease       CRO SERVICES AGREEMENT –                  CIRCLE INVESTMENTS LLC
2.2 is for and the nature of the
    debtor’s interest                      HIRING AGENT                              245 EAST 58TH STREET

      State the term remaining             N/A; 30-DAYS NOTICE TO                    NEW YORK, NEW YORK 10022
                                           TERMINATE
      List the contract number of any
      government contract


    State what the contract or lease       ENGAGEMENT AGREEMENT FOR                  ARBEL CAPITAL ADVISORS LLC
2.3 is for and the nature of the
    debtor’s interest                      ARO SERVICES – HIRING AGENT               4 WAVERLY PLACE

      State the term remaining             N/A; 30-DAYS NOTICE TO                    LAWRENCE, NEW YORK 11559
                                           TERMINATE
      List the contract number of any
      government contract


    State what the contract or lease       PRIMARY DIRECTOR’S AND                    LLOYDS OF LONDON
    is for and the nature of the           OFFICER’S LIABILITY INSURANCE –           ATTENTION: LEGAL DEPARTMENT
2.4 debtor’s interest
                                           INSURED – POLICY NO.
                                           B0595FD165780202
      State the term remaining             TERMINATION DATE ON 06/17/2022            280 PARK AVENUE, EAST TOWER
      List the contract number of any                                                25TH FLOOR, NEW YORK, NY 11017
      government contract




Official Form 206G                            Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of 2
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 Debtor      All Year Holdings Limited                                 Case number 21-12051 (MG)
             Name


    State what the contract or lease     EXCLUSIVE AGREEMENT -              MERIDIAN CAPITAL GROUP LLC
2.5 is for and the nature of the         RECAPITALIZATION AGREEMENT         1 BATTERY PARK PLAZA, 26TH FLOOR
    debtor’s interest                    (AS AMENDED)
    State the term remaining             TERMINATION DATE ON 12/24/2021     NEW YORK, NEW YORK 10004
    List the contract number of any
    government contract


    State what the contract or lease     EXCLUSIVE BROKERAGE                MERIDIAN CAPITAL GROUP LLC
2.6 is for and the nature of the         AGREEMENT – FINANCING
    debtor’s interest                                                       1 BATTERY PARK PLAZA, 26TH FLOOR
                                         (AS AMENDED)
    State the term remaining             TERMINATION DATE ON 12/24/2021     NEW YORK, NEW YORK 10004
    List the contract number of any
    government contract


    State what the contract or lease     ADMINISTRATIVE SERVICES            ALL YEAR MANAGEMENT LLC
2.7 is for and the nature of the
    debtor’s interest                    AGREEMENT                          199 LEE AVENUE, #693

    State the term remaining             N/A; 90-DAYS NOTICE TO             BROOKLYN, NEW YORK 11211
                                         TERMINATE OR DATE THAT
                                         DEBTOR HAS NO OUTSTANDING
                                         DEBENTURES IN ISRAEL, THE
                                         EARLIER THEREOF
    List the contract number of any
    government contract




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                    page 2 of 2
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 Fill in this information to identify the case:
 Debtor name: All Year Holdings Limited
 United States Bankruptcy Court for the: Southern District of New York
                                                  (State)
 Case number (If known): 21-12051 (MG)

                                                                                                                                           ☐ Check if this an
                                                                                                                                                  amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                                          12/15
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

 1.    Does the debtor have any codebtors?
       ☐     No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       ☒     Yes.

 2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

           Column 1: Codebtor                                                                               Column 2: Creditor

                                                                                                                                         Check all schedules
           Name                    Mailing address                                                          Name                         that apply:



 2.1     YOEL GOLDMAN              141 SKILLMAN STREET                                                      PILGRIM CHESTER              ☒     D
                                   Street                                                                   LENDER, LLC; DCP KINGS       ☒     E/F
                                   BROOKLYN                      NY                         11205           POINT LLC; DOWNTOWN          ☐     G
                                   City                          State                      Zip Code        CAPITAL PARTNERS, LLC;
                                                                                                            MREF REIT LENDER 9
                                                                                                            LLC; TAZ PARTNERS, LLC


 2.2     ALL YEAR HOLDINGS         199 LEE AVENUE, #693                                                     DOWNTOWN CAPITAL             ☐     D
         LLC                       Street                                                                   PARTNERS, LLC                ☒     E/F
                                   BROOKLYN                      NY                         11221                                        ☐     G
                                   City                          State                      Zip Code


 2.3     ALL YEAR HOLDINGS         199 LEE AVENUE, #693                                                     DOWNTOWN CAPITAL             ☐     D
         COMMON LLC                Street                                                                   PARTNERS, LLC                ☒     E/F
                                   BROOKLYN                      NY                         11221                                        ☐     G
                                   City                          State                      Zip Code


 2.4     GREENS AT CHESTER         65 STEUBEN STREET                                                        PILGRIM CHESTER              ☒     D
         LLC                       Street                                                                   LENDER, LLC                  ☐     E/F
                                   BROOKLYN                      NY                         11205                                        ☐     G
                                   City                          State                      Zip Code


 2.5     JEHUDA LANDAU             104 HEWES STREET                                                         PILGRIM CHESTER              ☒     D
                                   Street                                                                   LENDER, LLC                  ☐     E/F
                                   BROOKLYN                      NY                         11249                                        ☐     G
                                   City                          State                      Zip Code


 2.6     SAMUEL LANDAU             103 DIVISION AVENUE                                                      PILGRIM CHESTER              ☒     D
                                   Street                                                                   LENDER, LLC                  ☐     E/F
                                   BROOKLYN                      NY                         11249                                        ☐     G
                                   City                          State                      Zip Code

 2.7     CHAIM SCHWARTZ            19 PRAG BOULEVARD, #202                                                  PILGRIM CHESTER              ☒     D
                                   Street                                                                   LENDER, LLC                  ☐     E/F
                                   MONROE                        NY                          10950                                       ☐     G
                                   City                          State                       Zip Code

 2.8     CHESTER HOLDINGS          199 LEE AVENUE, #693                                                     PILGRIM CHESTER              ☒     D
         NY LLC                    Street                                                                   LENDER, LLC                  ☐     E/F
                                                                                                                                         ☐     G



Official Form 206H                                                Schedule H: Codebtors                                                              page 1 of 2
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 Debtor       All Year Holdings Limited                                   Case number 21-12051 (MG)
              Name

                                 BROOKLYN                      NY                      11249
                                 City                       State                    Zip Code

 2.9      YANKIE ROCHLITZ        26 HEYWARD STREET, 3L                                          PILGRIM CHESTER    ☒   D
                                 Street                                                         LENDER, LLC        ☐   E/F
                                 BROOKLYN                      NY                      11211                       ☐   G
                                 City                       State                    Zip Code

 2.10     LIPA MEISELS           670 MYRTLE AVENUE, #158                                        PILGRIM CHESTER    ☒   D
                                 Street                                                         LENDER, LLC        ☐   E/F
                                 BROOKLYN                      NY                      11205                       ☐   G
                                 City                       State                    Zip Code

 2.11     DRH CHESTER LLC        360 HAMILTON AVENUE, SUITE 1110                                PILGRIM CHESTER    ☒   D
                                 Street                                                         LENDER, LLC        ☐   E/F
                                 WHITE PLAINS                 NY                      10601                        ☐   G
                                 City                       State                    Zip Code

 2.12     GARY KATZ              360 HAMILTON AVENUE, SUITE 1110                                PILGRIM CHESTER    ☒   D
                                 Street                                                         LENDER, LLC        ☐   E/F
                                 WHITE PLAINS                 NY                      10601                        ☐   G
                                 City                       State                    Zip Code

 2.13     DAVID BILLET           360 HAMILTON AVENUE, SUITE 1110                                PILGRIM CHESTER    ☒   D
                                 Street                                                         LENDER, LLC        ☐   E/F
                                 WHITE PLAINS                 NY                      10601                        ☐   G
                                 City                       State                    Zip Code

 2.14     ALTER BITTMAN          43 SKILLMAN STREET, #3-B                                       PILGRIM CHESTER    ☒   D
                                 Street                                                         LENDER, LLC        ☐   E/F
                                 BROOKLYN                   NY                       11249                         ☐   G
                                 City                       State                    Zip Code

 2.15     ROLLINGS HILLS         1407 6TH STREET                                                PILGRIM CHESTER    ☒   D
          CHESTER LLC            Street                                                         LENDER, LLC        ☐   E/F
                                 BROOKLYN                   NY                       11219                         ☐   G
                                 City                       State                    Zip Code

 2.16     JOEL GRUNFELD          1407 6TH STREET                                                PILGRIM CHESTER    ☒   D
                                 Street                                                         LENDER, LLC        ☐   E/F
                                 BROOKLYN                   NY                       11219                         ☐   G
                                 City                       State                    Zip Code

 2.17     DOV TRATNER            80-02 KEW GARDENS ROAD, SUITE 605                              PILGRIM CHESTER    ☒   D
                                 Street                                                         LENDER, LLC        ☐   E/F
                                 KEW GARDENS                 NY                       11415                        ☐   G
                                 City                       State                    Zip Code




Official Form 206H                                           Schedule H: Codebtors                                           page 2 of 2
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 Fill in this information to identify the case:

 Debtor name: All Year Holdings Limited
 United States Bankruptcy Court for the Southern District of New York
                                                       (State)
 Case number (If known):       21-12051 (MG)




Official Form 202
  Declaration Under Penalty of Perjury for Non-Individual Debtors                                                               12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign
and submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not
included in the document, and any amendments of those documents. This form must state the individual’s position or
relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



            Declaration and signature


   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
   partnership; or another individual serving as a representative of the debtor in this case.
   I have examined the information in the documents checked below and I have a reasonable belief that the information
   is true and correct:

          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
   ☐       Amended Schedule ____
   ☐       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not
           Insiders (Official Form 204)
   ☐       Other document that requires a declaration

   I declare under penalty of perjury that the foregoing is true and correct.



     Executed on 12 / 28 / 2021
                                                   
                                                          Signature of individual signing on behalf of debtor
                     MM / DD / YYYY
                                                          Assaf Ravid
                                                          Printed name

                                                          CEO & CRO of All Year Holdings Limited
                                                          Position or relationship to debtor




     Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
